                    Case 23-08547            Doc 1       Filed 06/29/23 Entered 06/29/23 09:41:19                              Desc Main
                                                           Document     Page 1 of 21

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Byers Operating LLC

2.   All other names debtor
     used in the last 8 years
                                   Byers Printing Company
     Include any assumed           Byers Printing Co.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  901 N. MacArthur Boulevard
                                  Springfield, IL 62702
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Sangamon                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 23-08547                Doc 1      Filed 06/29/23 Entered 06/29/23 09:41:19                                    Desc Main
                                                              Document     Page 2 of 21
Debtor    Byers Operating LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 23-08547                   Doc 1         Filed 06/29/23 Entered 06/29/23 09:41:19                                Desc Main
                                                                    Document     Page 3 of 21
Debtor    Byers Operating LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-08547     Doc 1        Filed 06/29/23 Entered 06/29/23 09:41:19                      Desc Main
                                                     Document     Page 4 of 21
Debtor   Byers Operating LLC                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 23-08547            Doc 1       Filed 06/29/23 Entered 06/29/23 09:41:19                                Desc Main
                                                           Document     Page 5 of 21
Debtor    Byers Operating LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 28, 2023
                                                  MM / DD / YYYY


                             X   /s/ Matthew M. Sandretto                                                 Matthew M. Sandretto
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   For Byers Holding LLC, Manager




18. Signature of attorney    X   /s/ William S. Hackney                                                    Date June 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William S. Hackney
                                 Printed name

                                 Bryan Cave Leighton Paisner LLP
                                 Firm name

                                 161 North Clark Street
                                 Suite 4300
                                 Chicago, IL 60601-3315
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 602-5000                Email address      william.hackney@bclplaw.com

                                 06256042 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                    Case 23-08547            Doc 1      Filed 06/29/23 Entered 06/29/23 09:41:19                          Desc Main
                                                          Document     Page 6 of 21
Debtor     Byers Operating LLC                                                              Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Byers Holding LLC                                                       Relationship to you               Parent
District   Northern District of Illinois              When                         Case number, if known
Debtor     Creekside Operating LLC                                                 Relationship to you               Affiliate
District   Northern District of Illinois              When                         Case number, if known
Debtor     Elections Operating LLC                                                 Relationship to you               Affiliate
District   Northern District of Illinois              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
Case 23-08547   Doc 1   Filed 06/29/23 Entered 06/29/23 09:41:19   Desc Main
                          Document     Page 7 of 21
              Case 23-08547               Doc 1        Filed 06/29/23 Entered 06/29/23 09:41:19                            Desc Main
                                                         Document     Page 8 of 21




Fill in this information to identify the case:

Debtor name         Byers Operating LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 28, 2023                   X /s/ Matthew M. Sandretto
                                                           Signature of individual signing on behalf of debtor

                                                            Matthew M. Sandretto
                                                            Printed name

                                                            For Byers Holding LLC, Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 23-08547            Doc 1        Filed 06/29/23 Entered 06/29/23 09:41:19                                        Desc Main
                                                            Document     Page 9 of 21

 Fill in this information to identify the case:
 Debtor name Byers Operating LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Arden Label, Inc.         Chip Collins              Trade Debt                                                                                                        $46.23
 10S264 Schoger
 Drive                     chip@ardenlabel.c
 Naperville, IL 60564      om
                           (866) 273-3646
 D&K International,        Denise Ebenstein          Trade Debt                                                                                                    $1,007.14
 Inc.
 Attn Denise               denise.ebenstein@
 Ebenstein                 dkgroup.net
 P.O. Box 5441             (847) 956-0160
 Carol Stream, IL
 60197
 Der Graphics &            Mike McNeil               Trade Debt                                                                                                  $35,000.00
 Custom Filing
 32282 64th Avenue  mike@dergraphics.
 Lawton, MI 49065   com
                    514-737-8786 ext.
                    224
 Graphic Dimensions Accounts             Trade Debt                                                                                                                $1,035.00
 480 Center Street  Receivable
 Hobart, IN 46342
                    credit@graphdim.c
                    om
                    (859) 581-3989
 Hillier Storage &  Thomas R. Swift      Trade Debt                                                                                                                $3,000.00
 Moving Co.
 P.O. Box 51045     tswift@hillierstg.co
 Newark, NJ         m
 07101-5145         (217) 525-8550
 Lindsey Electric,  Lori                 Trade Debt                                                                                                              $17,500.00
 Inc.               A. Lindsey Von
 P.O. Box 99922     Behren
 Chicago, IL
 60696-7722         lanne0624@gmail.c
                    om
                    (217)544-6789



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 23-08547            Doc 1        Filed 06/29/23 Entered 06/29/23 09:41:19                                        Desc Main
                                                           Document     Page 10 of 21


 Debtor    Byers Operating LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Mobile Mini         Accounts                        Trade Debt                                                                                                      $282.98
 Solutions           Receivable
 P.O. Box 72466
 Cleveland, OH 44192 billingres@mobile
                     mini.com
                     (800) 456-1751
 NAW Holdings LLC Victor Krumm                       Commercial Lease Disputed                                                                                           $0.00
 c/o Victor A. Krumm                                 Agreement
 1023 N. Kellogg     vkrumm78@comca
 Street              st.net
 Kennewick, WA       (847) 668-8555
 99336
 Printegra           Accounts                        Trade Debt                                                                                                      $612.57
 Attn Accounts       Receivable
 Receivable
 P.O. Box 841741     ininfo@printegra.c
 Dallas, TX 75284    om
                     (800) 233-2919
 PrintXcel           Barbara Ewald                   Trade Debt                                                                                                      $193.90
 Attn Barbara Ewald
 607 Boylston Street Barbara.Ewald@Pri
 Boston, MA 02116    ntXcel.com
                     (419) 269-1720 ext.
                     7247
 Smead               Vickie Miller                   Trade Debt                                                                                                        $91.64
 Manufacturing
 Company             vickie.miller@smea
 Attn Vickie Miller  d.com
 NW 8336             (888) 737-6323
 P.O. Box 1450
 Minneapolis, MN
 55485-8336




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
             Case 23-08547                 Doc 1        Filed 06/29/23 Entered 06/29/23 09:41:19                                      Desc Main
                                                         Document     Page 11 of 21
                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Byers Operating LLC                                                                                     Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Byers Holding LLC                                                                 100%                                       Member
1175 Davis Road
Elgin, IL 60123


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the For Byers Holding LLC, Manager of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date June 28, 2023                                                       Signature /s/ Matthew M. Sandretto
                                                                                        Matthew M. Sandretto

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
          Case 23-08547        Doc 1    Filed 06/29/23 Entered 06/29/23 09:41:19                Desc Main
                                         Document     Page 12 of 21




                                       United States Bankruptcy Court
                                            Northern District of Illinois
In re   Byers Operating LLC                                                     Case No.
                                                         Debtor(s)              Chapter    11




                                 VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                             26




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   June 28, 2023                         /s/ Matthew M. Sandretto
                                              Matthew M. Sandretto/For Byers Holding LLC, Manager
                                              Signer/Title
    Case 23-08547   Doc 1   Filed 06/29/23 Entered 06/29/23 09:41:19   Desc Main
                             Document     Page 13 of 21


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Arden Label, Inc.
                      10S264 Schoger Drive
                      Naperville, IL 60564


                      Arden Label, Inc.
                      Attn Chip Collins
                      1175 Rifle Range Road
                      Wetumpka, AL 36903


                      Bank of America
                      Bank of America Corporate Center
                      100 North Tryon Street
                      Charlotte, NC 28255


                      City Water Light & Power
                      300 South 7th Street
                      Room 101
                      Springfield, IL 62701


                      Comcast Business Voice Edge
                      P.O. Box 37601
                      Philadelphia, PA 19101-0601


                      D&K International, Inc.
                      Attn Denise Ebenstein
                      P.O. Box 5441
                      Carol Stream, IL 60197


                      Der Graphics & Custom Filing
                      32282 64th Avenue
                      Lawton, MI 49065


                      Der Graphics & Custom Filing
                      Attn Mike McNeil
                      1875 55 Avenue
                      Dorval, Quebec H9P 2 W3
                      Canada


                      Graphic Dimensions
                      480 Center Street
                      Hobart, IN 46342


                      Graphic Dimensions
                      Attn Accounts Receivable
                      P.O. Box 44467
                      Atlanta, GA 30336
Case 23-08547   Doc 1   Filed 06/29/23 Entered 06/29/23 09:41:19   Desc Main
                         Document     Page 14 of 21



                  Hillier Storage & Moving Co.
                  P.O. Box 51045
                  Newark, NJ 07101-5145


                  Hillier Storage & Moving Co.
                  Attn Thomas R. Swift
                  2728 South 11th Street
                  Springfield, IL 62703


                  Internal Revenue Service
                  Centralized Insolvency Operations
                  Post Box 7346
                  Philadelphia, PA 19101-7346


                  Lindsey Electric, Inc.
                  P.O. Box 99922
                  Chicago, IL 60696-7722


                  Lindsey Electric, Inc.
                  Attn Lori A. Lindsey Von Behren
                  3260 Terminal Avenue
                  Springfield, IL 62707-4501


                  Lisa A. Petrilli
                  Sorling Northrup
                  1 North Old State Capitol Plaza
                  Suite 2
                  Springfield, IL 62705


                  Midwest Regional Bank
                  1913 Richardson Road
                  Arnold, MO 63010


                  Mobile Mini Solutions
                  P.O. Box 72466
                  Cleveland, OH 44192


                  Mobile Mini Solutions
                  Attn Accounts Receivable
                  P.O. Box 650882
                  Dallas, TX 75265-0882


                  NAW Holdings LLC
                  c/o Victor A. Krumm
                  1023 N. Kellogg Street
                  Kennewick, WA 99336
Case 23-08547   Doc 1   Filed 06/29/23 Entered 06/29/23 09:41:19   Desc Main
                         Document     Page 15 of 21



                  Office of the US Trustee
                  219 S. Dearborn Street
                  Room 873
                  Chicago, IL 60604


                  Printegra
                  Attn Accounts Receivable
                  P.O. Box 841741
                  Dallas, TX 75284


                  PrintXcel
                  Attn Barbara Ewald
                  607 Boylston Street
                  Boston, MA 02116


                  Sangamon County Tax Collector
                  P.O. Box 19400
                  Springfield, IL 62794-9400


                  Small Business Administration
                  332 S. Michigan Avenue
                  Suite 600
                  Chicago, IL 60604


                  Smead Manufacturing Company
                  Attn Vickie Miller
                  NW 8336
                  P.O. Box 1450
                  Minneapolis, MN 55485-8336
           Case 23-08547        Doc 1     Filed 06/29/23 Entered 06/29/23 09:41:19                  Desc Main
                                           Document     Page 16 of 21



                                        United States Bankruptcy Court
                                              Northern District of Illinois
 In re   Byers Operating LLC                                                        Case No.
                                                           Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Byers Operating LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Byers Holding LLC
1175 Davis Road
Elgin, IL 60123




  None [Check if applicable]




June 28, 2023                                  /s/ William S. Hackney
Date                                           William S. Hackney
                                               Signature of Attorney or Litigant
                                               Counsel for Byers Operating LLC
                                               Bryan Cave Leighton Paisner LLP
                                               161 North Clark Street
                                               Suite 4300
                                               Chicago, IL 60601-3315
                                               (312) 602-5000 Fax:(312) 602-5050
                                               william.hackney@bclplaw.com
         Case 23-08547          Doc 1      Filed 06/29/23 Entered 06/29/23 09:41:19      Desc Main
                                            Document     Page 17 of 21

                                   Byers Printing Company
                                       Balance Sheet
                                           As of June 1, 2023

                                                                             Total
ASSETS
 Current Assets
   Bank Accounts
    110000 Operating (0317)                                                           55,806.14
    110500 Payroll (7936)                                                               742.89
    112509 Bank Clearing Account                                                           0.00
    112510 ADP P/R Clearing                                                                0.00
   Total Bank Accounts                                                $               56,549.03
   Accounts Receivable
    120000 Accounts Receivable (A/R)                                                 116,753.16
   Total Accounts Receivable                                          $              116,753.16
   Other Current Assets
    112000 Undeposited Funds                                                            195.88
    130000 Inventory                                                                  23,401.35
    171100 Closing Adjustments                                                             0.00
    171160 Due From Customers                                                              0.00
    171170 Due From Employees                                                          3,415.47
    171171 Due from MWRB/SBA                                                               0.00
    Uncategorized Asset                                                                    0.00
   Total Other Current Assets                                         $               27,012.70
 Total Current Assets                                                 $              200,314.89
 Fixed Assets
   152000 Delivery Van                                                                15,840.04
    152100 Delivery Van - Accumulated Depreciation                                   -15,840.04
   Total 152000 Delivery Van                                           $                   0.00
 Total Fixed Assets                                                    $                   0.00
 Other Assets
   170550 Due from Michigan Election Resources                                             0.00
   172000 Intangibles
    171500 Goodwill                                                              1,000,000.00
    172120 Business Name                                                             100,000.00
    172130 Customer List                                                             200,000.00
    172140 Intangibles Accumulated Amortization                                      -96,667.00
   Total 172000 Intangibles                                           $          1,203,333.00
   172100 Deferred Financing Costs                                                    42,360.50
    172200 Deferred Financing Costs Accum. Amort.                                    -20,474.18
   Total 172100 Deferred Financing Costs                              $               21,886.32
   172300 Security Deposit                                                             4,000.00
 Total Other Assets                                                   $          1,229,219.32
TOTAL ASSETS                                                          $          1,429,534.21
LIABILITIES AND EQUITY
          Case 23-08547             Doc 1       Filed 06/29/23 Entered 06/29/23 09:41:19             Desc Main
                                                 Document     Page 18 of 21

 Liabilities
   Current Liabilities
     Accounts Payable
       210000 Accounts Payable (A/P)                                                             76,524.00
     Total Accounts Payable                                                               $      76,524.00
     Other Current Liabilities
       210200 Due to Employee                                                                         0.00
       210201 Due to Shaheen Chevrolet, Inc.                                                          0.00
       210202 Payroll Tax Payable                                                                     0.00
       210203 Due to Plerus                                                                       5,289.96
       210300 Prepaid Postage Liability                                                               0.00
          210301 Macoupin County SOA Prepaid Postage                                                  0.00
          210302 Fulton County IL Prepaid Postage                                                     0.00
       Total 210300 Prepaid Postage Liability                                             $           0.00
       Due to ADP                                                                                     0.00
       Illinois Department of Revenue Payable                                                       151.26
       Out Of Scope Agency Payable                                                                    0.00
     Total Other Current Liabilities                                                      $       5,441.22
   Total Current Liabilities                                                              $      81,965.22
   Long-Term Liabilities
     250000 Due to Byers Holding LLC                                                             94,355.98
     250002 Due to Bank of America Auto Loan                                                      1,941.98
     250003 Due to Michigan Election Resources                                                        0.00
     250005 Due to Creekside Printing                                                            32,995.78
     250010 Due to Midwest Regional Bank - SBA 7a Loan                                          761,436.29
     250011 Due to Kabbage Line of Credit                                                             0.00
     250021 Due to SBA Paycheck Protection Program (PPP)                                              0.00
       250022 SBA Paycheck Protection Program (PPP) Forgiven                                          0.00
       250023 SBA Paycheck Protection Program (PPP) Unforgiven                                        0.00
     Total 250021 Due to SBA Paycheck Protection Program (PPP)                            $           0.00
     250024 Due to SBA EIDL                                                                     500,000.00
     250025 Due to SBA EIDL Advance                                                                   0.00
   Total Long-Term Liabilities                                                            $    1,390,730.03
 Total Liabilities                                                                        $    1,472,695.25
 Equity
   310000 Opening Balance Equity                                                                      0.00
   320000 Retained Earnings                                                                     -177,352.91
   Net Income                                                                                   134,191.87
 Total Equity                                                                             -$     43,161.04
TOTAL LIABILITIES AND EQUITY                                                              $    1,429,534.21




                                 Monday, Jun 19, 2023 08:45:14 AM GMT-7 - Accrual Basis
         Case 23-08547            Doc 1   Filed 06/29/23 Entered 06/29/23 09:41:19   Desc Main
                                           Document     Page 19 of 21

                      Byers Printing Company
                          Profit and Loss
                            January 1 - June 1, 2023

                                                           Total
Income
 410000 Sales of Product Income                                    314,738.20
 420000 Shipping and Delivery Income                                14,108.75
 440000 Bounced Checks Income                                          75.04
Total Income                                           $           328,921.99
Cost of Goods Sold
 510000 Supplies & Materials - COGS                                 11,419.33
 510001 Purchasing - COGS                                          108,271.16
 511000 Shipping, Freight & Delivery - COGS                         14,797.71
 512000 Cost of labor - COGS                                        43,610.00
 512200 Other Costs of Services - COGS                                143.55
Total Cost of Goods Sold                               $           178,241.75
Gross Profit                                           $           150,680.24
Expenses
 610500 Delivery Van Expense                                         1,014.30
 611000 Bank Charges & Fees                                           280.00
 611111 Contractors                                                  4,626.51
 613001 Insurance
   613500 Business Insurance                                         1,287.39
   713510 Owner's Life Insurance                                      223.90


 615000 Repairs & Maintenance                                         153.25
 615500 Office Supplies                                              2,010.63
 615501 Administrative Software                                      1,278.49
 615502 Production Software                                           653.27
 616000 Utilities                                                    1,413.70
   616001 Phones and Internet                                         404.83


 617000 Postage and Delivery                                          400.00
 617100 Production Tools and Equipment                                 56.07
640001 Payroll Expenses - Management                                24,826.03
640500 Payroll Expese - Wages                                       16,640.00
 649500 Payroll Expenses - Taxes                                      107.74
 651000 Taxes - Sales Tax                                              35.18
 700000 Discretionary Expenses
   700009 Payroll Fees                                                621.82
   700010 Janitorial Expense                                           14.52


 710000 Non-Recurring Expenses
   710002 Legal & Professional Services                             16,082.19
       Case 23-08547             Doc 1   Filed 06/29/23 Entered 06/29/23 09:41:19   Desc Main
                                          Document     Page 20 of 21

 720000 Non-Capitalized Expenses                                392.90
   720002 Equipment Lease Expense                              5,272.69
   720003 Building Maintenance                                  407.64


 740000 Interest Expense                                      22,933.31
Total Expenses                                    $          101,136.36


Net Income                                        $           49,543.88
        Case 23-08547            Doc 1      Filed 06/29/23 Entered 06/29/23 09:41:19      Desc Main
                                             Document     Page 21 of 21

                                            Byers Printing Company
                                            Statement of Cash Flows
                                                 January 1 - June 1, 2023

                                                                                             Total
OPERATING ACTIVITIES
 Net Income                                                                                          134,191.87
 Adjustments to reconcile Net Income to Net Cash provided by operations:
   120000 Accounts Receivable (A/R)                                                                  -51,975.63
   171170 Due From Employees                                                                          -2,515.47
   210000 Accounts Payable (A/P)                                                                     -28,072.53
   Illinois Department of Revenue Payable                                                               -434.45
   Out Of Scope Agency Payable                                                                             0.00
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:       -$               82,998.08
Net cash provided by operating activities                                            $                51,193.79
FINANCING ACTIVITIES
 250002 Due to Bank of America Auto Loan                                                                -856.07
 250010 Due to Midwest Regional Bank - SBA 7a Loan                                                   -66,106.95
Net cash provided by financing activities                                            -$               66,963.02
Net cash increase for period                                                         -$               15,769.23
Cash at beginning of period                                                                           72,514.14
Cash at end of period                                                                $                56,744.91




                                            Monday, Jun 19, 2023 03:02:00 PM GMT-7
